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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE
 COMMISSION,                                                     COMPLAINT

                         Plaintiff,                              20 Civ. 8281

                 -against-                                       ECF CASE
                                                                 JURY TRIAL REQUESTED
 JOHN DAVID MCAFEE and
 JIMMY GALE WATSON, JR.,

                         Defendants.



        Plaintiff Securities and Exchange Commission (“SEC” or “Commission”), for its Complaint

against Defendants John David McAfee (“McAfee”) and Jimmy Gale Watson, Jr. (“Watson”)

(collectively, “Defendants”), alleges as follows:

                                              SUMMARY

        1.      McAfee is a businessman and computer programmer with hundreds of thousands of

Twitter followers. From at least November 2017 through February 2018, McAfee leveraged his fame

to make more than $23.1 million U.S. Dollars (“USD”) in undisclosed compensation by

recommending at least seven “initial coin offerings” or ICOs to his Twitter followers. The ICOs at
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issue involved the offer and sale of digital asset securities and McAfee’s recommendations were

materially false and misleading for several reasons.

        2.      First, McAfee did not disclose that he was being paid to promote the ICOs by the

issuers (the companies selling the securities in the ICOs). Promoting a security without disclosing

that you are being paid to do so is unlawful “touting” and violates the federal securities laws. The

ICOs McAfee touted raised at least approximately $41 million and McAfee made approximately

$23.2 million in secret compensation for his touts. When directly asked if he was being paid for

these promotions, McAfee lied to investors by falsely denying he was being paid by the issuers.

        3.      Second, McAfee falsely claimed to be an investor and/or a technical advisor when he

recommended several ICOs, creating the impression that he had vetted these companies, that they

were benefitting from his technical expertise, and that he was willing to invest his own money in the

ventures. In reality, McAfee’s tweets were paid promotions disguised as impartial investment advice.

        4.      Third, after a blogger exposed McAfee’s paid promotions and he could no longer

generate interest in ICOs with tweets, McAfee was still holding a large number of virtually worthless

securities from the ICOs he had previously touted. To cash out, McAfee encouraged investors to

purchase the securities sold in certain of the ICOs without disclosing that he was simultaneously

trying to sell his own holdings and had paid another third-party promoter to tout the securities.

        5.      Finally, McAfee engaged in a practice known as “scalping” as to at least one digital

asset security, by accumulating large amounts of the digital asset security and touting it on Twitter

without disclosing his intent to sell it. Scalping generally allows promoters to sell their securities

holdings quickly and profitably through market interest that they deceptively generate, and violates

the federal securities laws.

        6.      Defendant Watson was McAfee’s bodyguard; he also substantially assisted McAfee’s

touting and scalping schemes. Among other things, Watson negotiated the deals with ICO issuers



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seeking promotions, helped McAfee monetize the proceeds of his promotions, and directed his

then-wife to tweet fake interest in an ICO that McAfee was promoting at the behest of the issuer.

        7.      McAfee was paid bitcoin (BTC) and ether (ETH) worth more than $11.6 million,

plus an additional $11.5 million worth of promoted tokens, as undisclosed compensation for his

promotions of seven ICOs. McAfee paid Watson at least $316,000 for his role.

                                            VIOLATIONS

        8.      By virtue of the foregoing conduct and as alleged further herein:

                a.      Defendant McAfee violated Sections 17(a) and 17(b) of the Securities Act of

        1933 (“Securities Act”) [15 U.S.C. § 77q(a)-(b)], and Section 10(b) of the Securities Exchange

        Act of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)], and Rule 10b-5(a)-(c) thereunder [17

        C.F.R. § 240.10b-5(a)-(c)].

                b.      Defendant Watson violated Sections 17(a)(1) and (3) of the Securities Act

        and Section 10(b) of the Exchange Act and Rules 10b-5(a) and (c) thereunder; and aided and

        abetted McAfee’s violations of Sections 17(a) and 17(b) of the Securities Act and Section

        10(b) of the Exchange Act and Rule 10b-5(a)-(c) thereunder, in violation of Section 15(b) of

        the Securities Act [15 U.S.C. § 77o(b)] and 20(e) of the Exchange Act [15 U.S.C. § 78t(e)].

        9.      Unless Defendants are restrained and enjoined, they will engage in the acts, practices,

transactions, and courses of business set forth in this Complaint or in acts, practices, transactions,

and courses of business of similar type and object.

               NATURE OF THE PROCEEDINGS AND RELIEF SOUGHT

        10.     The SEC brings this action pursuant to the authority conferred upon it by Sections

20(b) and 20(d) of the Securities Act [15 U.S.C. §§ 77t(b) and 77t(d)] and Section 21(d) of the

Exchange Act [15 U.S.C. § 78u(d)].




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        11.     The SEC seeks a final judgment: (a) permanently enjoining Defendants from

violating the federal securities laws and rules this Complaint alleges they have violated; (b) ordering

Defendants to disgorge all ill-gotten gains they received as a result of the violations alleged herein

and to pay prejudgment interest thereon, pursuant to Section 21(d)(5) of the Exchange Act [15

U.S.C. § 78u(d)(5)]; (c) ordering Defendants to pay civil money penalties pursuant to Section 20(d)

of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C.

§ 78u(d)(3)]; (d) permanently prohibiting McAfee from serving as an officer or director of any

company that has a class of securities registered under Section 12 of the Exchange Act [15 U.S.C.

§ 78l] or that is required to file reports under Section 15(d) of the Exchange Act [15 U.S.C.

§ 78o(d)], pursuant to Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)]; (e) permanently

prohibiting Defendants from participating, directly or indirectly, in the issuance, purchase, offer, or

sale of any digital asset security; and (f) ordering any other and further relief the Court may deem

appropriate or necessary for the benefit of investors.

                                  JURISDICTION AND VENUE

        12.     This Court has jurisdiction over this action pursuant to Section 22(a) of the

Securities Act [15 U.S.C. § 77v(a)] and Section 27 of the Exchange Act [15 U.S.C. § 78aa].

        13.     Defendants, directly and indirectly, have made use of the means or instrumentalities

of interstate commerce or of the mails in connection with the transactions, acts, practices, and

courses of business alleged herein.

        14.     Venue lies in this District under Section 22(a) of the Securities Act [15 U.S.C.

§ 77v(a)] and Section 27 of the Exchange Act [15 U.S.C. § 78aa]. Certain of the acts, practices,

transactions, and courses of business alleged occurred in this District. At least one of Defendants’

victims resides in this District, and Defendants converted into USD some digital assets obtained

from the ICOs using a service with its principal place of business in Manhattan.



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                                           DEFENDANTS

       15.      McAfee, age 74, previously a resident of Tennessee, currently resides in an unknown

location. McAfee previously served as the Chairman and CEO of MGT Capital Investments, Inc., a

publicly traded company, from November 2016 through 2017, and developed the popular anti-virus

software that still bears his name. McAfee tweets from the verified1 Twitter account

@officialmcafee, which had approximately 784,000 followers as of February 17, 2018.

       16.      Watson, age 39, resides in California. Watson began providing personal security for

McAfee in late 2017 and worked with McAfee to promote various ICOs during the relevant period.

                                       RELATED ENTITIES

       17.      McAfee and Watson’s schemes involved ICO-1, ICO-2, ICO-3, ICO-4, ICO-5,

ICO-6, and ICO-7 (collectively, the “Touted ICOs”), offers and sales of digital asset securities, and

Token-8, which were offered and sold by the following issuers:

             a. Issuer-1 is an unincorporated entity with its principal place of business in Bucharest,

                Romania. From December 2017 to January 2018, Issuer-1 raised funds in an ICO

                (ICO-1) for a token (Token-1), purportedly to construct the “first intelligence social

                marketing platform” powered by smart contracts.

             b. Issuer-2 is a U.K. company with its principal place of business in Lagos, Nigeria.

                From December 2017 to January 2018, Issuer-2 raised funds in an ICO (ICO-2) for

                a token (Token-2), purportedly to create a system to manage e-commerce businesses.

             c. Issuer-3 is a Belizean company with its principal place of business in Las Vegas,

                Nevada. In early 2018, Issuer-3 raised funds in an ICO (ICO-3) for a token (Token-

                3), purportedly to create a program to connect contractors directly to consumers.



1
 According to Twitter, a “verified account” is “an account of public interest” that is “authentic.” See
https://help.twitter.com/en/managing-your-account/about-twitter-verified-accounts.

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              d. Issuer-4 is a Georgia limited liability company with its principal place of business in

                  Atlanta. From January to February 2018, Issuer-4 raised funds in an ICO (ICO-4) for

                  a token (Token-4), purportedly to create a slate of horror films that it would deliver

                  to customers using blockchain technology.

              e. Issuer-5 is a Delaware corporation with its principal place of business in San

                  Francisco, California. In January 2018, Issuer-5 raised funds in an ICO (ICO-5) for a

                  token (Token-5), purportedly to create a background music control application.

              f. Issuer-6 is a Florida limited liability company with its principal place of business in

                  Miami. From January to February 2018, Issuer-6 raised funds in an ICO (ICO-6) for

                  a token (Token-6), purportedly to fund the creation of an application that would

                  permit businesses to share human capital resources.

              g. Issuer-7 is a Virgin Islands limited company with its principal place of business in

                  Moscow, Russia. From December 2017 to January 2018, Issuer-7 raised funds in an

                  ICO (ICO-7) for a token (Token-7), purportedly to create an application that would

                  permit individuals to challenge each other to “dares” for compensation.

              h. Issuer-8 is a U.K. private limited company with its principal place of business in

                  Maidstone, United Kingdom. From September 2017 to October 2017, Issuer-8

                  raised funds in an ICO (ICO-8) for a token (Token-8), purportedly to fund the

                  creation of a digital asset wallet and cryptocurrency for mobile payments.

                       BACKGROUND ON DIGITAL ASSETS AND ICOs

        18.       The term “digital asset” generally refers to an asset that is issued and transferred

using distributed ledger or blockchain technology, including so-called “cryptocurrencies,” “coins,”

and “tokens.” Generally, after being issued, digital assets may be “listed” on online digital asset

trading platforms where they can be traded for other digital assets or fiat currency such as USD.



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        19.     “Issuers” have offered and sold digital assets in fundraising events, called “initial coin

offerings” or “ICOs,” in exchange for consideration, often other digital assets. The digital assets

offered and sold in ICOs may or may not be transferable upon delivery to investors.

        20.     ICOs are typically announced and promoted through public online channels. The

documents soliciting the public to acquire digital assets in a particular offering are usually in the

form of a “white paper,” i.e., marketing materials describing the project and the terms of the ICO.

To participate, investors may transfer funds to a unique digital address set up by the issuer, and the

issuer may deliver digital assets to the ICO participant’s unique digital address on a distributed ledger

or blockchain. This process may be partially automated through the use of a “smart contract.”2

        21.     Issuers may launch digital assets in ICOs that appreciate in value in the hands of

investors. Issuers have also raised millions of dollars in fraudulent ICOs.

        22.     On July 25, 2017, the SEC issued the “DAO Report of Investigation,” where it

noted that digital assets sold in ICOs may be securities subject to the federal securities laws.3

        23.     On November 1, 2017, the SEC’s Division of Enforcement and Office of

Compliance Inspections and Examinations issued the “SEC Statement Urging Caution Around

Celebrity Backed ICOs” (“Celebrity ICO Statement”), which noted that, in accordance with the anti-

touting provisions of the federal securities laws, “[a]ny celebrity or other individual who promotes a

virtual token or coin that is a security must disclose the nature, scope, and amount of compensation

received in exchange for the promotion.”4


2
 Blockchains or distributed ledgers can record what are called “smart contracts,” which essentially
are computer programs designed to execute the terms of a contract when certain triggering
conditions are met.
3
 Report of Investigation Pursuant to Section 21(a) of the Securities Exchange Act of 1934: The
DAO, Exchange Act Rel. No. 81207 (July 25, 2017).
4
  The Celebrity ICO Statement is available at: https://www.sec.gov/news/public-statement-
statement-potentially-unlawful-promotion-icos.


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                                              FACTS

I.     BACKGROUND

       24.     During the course of 2017, the trading price of one bitcoin (BTC) rose from

approximately $1,000 to $20,000 USD on certain digital asset trading platforms.

       25.     Against this backdrop, on July 17, 2017, McAfee predicted on his official Twitter

account that the price of BTC would reach $500,000 by the end of 2020. On November 29, 2017,

also on Twitter, McAfee raised his predicted price of BTC to $1 million USD per BTC by the end of

2020, purportedly according to a “model.”

       26.     McAfee’s extravagant posts (such as tweeting predictions about BTC price increases

and promising to “eat my d**k on national television” if such predictions did not pan out) and

interviews about his BTC predictions generated an enormous amount of publicity, especially among

the digital asset community. From June 2017—just before McAfee’s first BTC price prediction—to

December 2017, McAfee went from roughly 62,000 followers to more than 500,000 on Twitter. His

$1,000,000 BTC price prediction garnered more than 12,000 “Likes” and 8,000 “Retweets.”

       27.     As McAfee gained fame in the digital asset community, ICO issuers began contacting

him through Twitter direct messages (DMs), and later through at least one dedicated email address

(first tweeted out by McAfee and later managed by Watson at McAfee’s direction), to ask McAfee to

promote their upcoming digital asset offerings.

       28.     Years later, McAfee admitted that his statements regarding his predicted price of

BTC were merely a “ruse” intended to “onboard new users.”

II.    THE ICO TOUTING SCHEME

       29.     Beginning in at least November 2017, McAfee (and later Watson) privately told ICO

issuers that McAfee would promote their offerings and that they could list McAfee as an adviser if

they gave McAfee a percentage of the digital assets being offered and/or payments in BTC.



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        30.     McAfee typically interspersed promotional tweets with warnings about other digital

assets that he was not promoting or otherwise discussing. For example, on December 22, 2017,

McAfee tweeted that “Yes, there are 1,500+ coins now. And yes, most are jokes or outright scams.

But among those coins are . . . proven winners.”

        31.     In a December 28, 2017 interview, conducted and posted by a website targeted at the

digital asset community, and available on YouTube (the “December 2017 Interview”), McAfee

similarly warned ICO investors—in the context of distinguishing his own ICO recommendations—

that “you need to be very, very careful because there are so many scams, so many people that are

trying to steal [from] you that it’s a dangerous thing.”

        32.     By contrast, McAfee would typically refer to the ICOs he was promoting as

investments from which investors could profit. For example, in the December 2017 Interview,

McAfee stated that “if you want to get in at the ground floor, meaning you will get it cheaper—in

other words, no one will get in cheaper than you because you’re buying it at the offering price; it can

only go up—then start looking at ICOs, initial coin offerings.”

        33.     After the success of his initial ICO promotions, McAfee began demanding an up-

front payment in BTC in addition to a percentage of the digital assets offered in the ICOs, and, later,

a percentage of the total funds raised from investors in the offerings themselves, arguing that the

supposed success of certain offerings was due to his involvement.

        34.     Because his own compensation was tied to the fundraising success of the ICOs he

was promoting, McAfee frequently urged investors to buy the touted tokens quickly and hold them

for the long term. For example, in response to questions about the nature of his ICO holdings in a

January 10, 2018 interview (the “January 2018 Interview”), McAfee responded, “If I truly believe

that they’re the coins of the future, wouldn’t it make sense to hold on to them for a couple

years? What madman would take a 100 percent gain over taking 10,000 times that?”



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          35.     Tables 1-3 set forth the compensation that McAfee received with respect to, and the

  approximate number of tweets he made about, each Touted ICO. McAfee did not disclose any of

  these payments to investors in connection with his promotional tweets for the Touted ICOs at the

  time he was making the touting statements and the ICOs were ongoing.

Table 1: McAfee ETH Payments for the Touted ICOs
                        Total #        Total ETH
                        of Tweets      Raised in   Total ETH        USD Value Upon
ICO      First Payment                 ICO         Paid to McAfee Receipt
ICO-1 12/20/2017        11             23,741 ETH 5,792 ETH         $6,107,570
ICO-2 1/2/2018          3              10,144 ETH 2,953 ETH         $3,116,256
ICO-3 1/8/2018          3 (1 deleted) 830 ETH      449 ETH          $558,403
ICO-4 1/9/2018          1 (deleted)    125 ETH     45 ETH           $57,997
ICO-5 1/16/2018         5              2,027 ETH   412 ETH          $428,495
ICO-6 1/19/2018         3              547 ETH     110 ETH          $110,130
ICO-7 1/30/2018         14             2,655 ETH   728 ETH          $669,944
Total:                                                              $11,048,795
Table 2: McAfee BTC Payments for the Touted ICOs
ICO      First Payment       Total BTC Paid to McAfee        Value Upon Receipt
ICO-1 12/21/2017             43 BTC                          $619,465
ICO-3 12/12/2017             1.445 BTC                       $24,633
Total:                                                       $644,098
Table 3: McAfee Token Payments for the Touted ICOs
ICO      Number of Tokens ICO Price per Token in USD         Approximate Value in USD
ICO-1 2,003,956              $2.46                           $4,929,731
ICO-2     14,505,050              $0.45                                    $6,527,272
ICO-3     1,500                   $0.192                                   $288
ICO-7     1,780,000               $0.03                                    $53,400
Total:                                                                     $11,510,691
          36.     McAfee and Watson ultimately transferred the BTC and ETH that McAfee received

  in connection with this scheme to digital asset wallet services and digital asset trading platform

  accounts in McAfee’s and Watson’s names and in the names of other individuals in McAfee’s

  employ, which accounts McAfee and Watson directly or indirectly controlled.



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        37.     For example, McAfee and Watson transferred more than $1 million USD in digital

assets to a digital asset trading platform located in this District, where the digital assets were

converted to USD by Watson’s then-wife at McAfee’s and Watson’s direction. Watson’s then-wife

then sent the money to bank accounts controlled directly or indirectly by McAfee and Watson.

        38.     From these transfers, Watson received approximately $316,000 in payment for his

participation in this scheme.

        39.     On February 8, 2018, a blogger accused McAfee, in a lengthy, public post purporting

to contain irrefutable evidence of its accusations, of receiving undisclosed compensation for touting

ICOs and suggested that readers contact the SEC. As a result, a correspondent for one of the

Touted ICOs asked Watson to help the issuing company formulate a response.

        40.     In response, on February 11, 2018, McAfee disclosed that he was being paid for

some of his promotions of ICOs, though even in that post he continued to make materially

misleading statements about the nature and extent of his involvement with the ICOs.

        41.     Until February 11, 2018, McAfee had never disclosed that he was being paid for his

promotion of multiple ICOs.

        42.     Even after February 11, 2018, McAfee made additional, materially misleading

statements about certain ICOs he had been promoting.

        43.     McAfee and Watson were located in the United States when they made many of the

promotional tweets for the Touted ICOs.

        44.     Investors in the United States could and did buy tokens in the Touted ICOs.

        A.      McAfee Unlawfully Promotes the Touted ICOs and Misleads Investors About
                His Involvement with the ICOs

        45.     From at least November 2017 through February 2018, McAfee touted the seven

Touted ICOs through at least forty tweets and replies, some of which are set forth below.




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        46.     As he admitted during the January 2018 Interview, McAfee was aware that his tweets

had a significant impact on the prices of the Touted ICOs and that the true nature of his

relationship to the issuer was of critical importance to investors.

        47.     In that interview, McAfee misleadingly highlighted another recent promotion as an

example of him supposedly being honest with the public, stating: “[I]f you look at that tweet today, I

said oh yeah, I shamelessly am saying this is something that I was involved in. So I let you know so

you can take it with a grain of salt because I’m involved. But if I don’t tell you, I’m not involved.”

        48.     In reality, McAfee had falsely and misleadingly stated that he was an adviser to the

issuer of that token instead of disclosing the truth: that he was a paid promoter and nothing more.

        49.     Further signaling the importance to investors of knowing whether McAfee was being

compensated for his endorsements of ICOs—that is, whether McAfee’s recommendations were

biased—investors repeatedly replied to McAfee’s ICO-endorsement tweets to ask whether he was

being paid for his promotions.

        50.     As more fully alleged below, in responses to these questions McAfee affirmatively

lied to and misled investors about whether he was receiving compensation for the touts.

        51.     For example on December 15, 2017, McAfee highlighted the purportedly unbiased

nature of his recommendations on Twitter in a reply to a user who had tweeted “Paid post?” in

response to McAfee’s recommendations. McAfee replied: “Get fucking real. There is no amount of

money that could make me say something I do not believe, or something I think may not happen.”

        52.     McAfee also explicitly denied his role as an ICO promoter in the December 2017

Interview, where he stated:

                Now, I’m not saying that I’ve not tweeted out coins that I am invested in,
                but when I do, I tell everybody. If I say this is a great coin and nothing else, I
                promise you I don’t own any of it, I am not affiliated with it, and I’m not
                interested in whether or not you buy it. What I’m interested in is educating
                the public about what is available.



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         53.       These statements were false or misleading when McAfee made them because, as he

knew or recklessly disregarded, he was, in fact, being compensated for touting the Touted ICOs.

         54.       As more fully alleged below, McAfee made additional false and misleading

statements to potential investors about his involvement with some of the ICOs he was touting. For

example, he publicly and falsely claimed that he was providing advisory services to some issuers’

business operations, while simultaneously confirming in private messages that he provided no actual

assistance to the Touted ICOs other than his promotions of the ICOs themselves.

         55.       In a private Twitter conversation, a correspondent informed McAfee that he was

buying into his first ICO, to which McAfee responded: “What’s the ICO? I’ve partnered with a

number of ICOs. They use my name and my participation in marketing materials in exchange for a

substantial percentage of the coins. It feels like I’m stealing from them by getting paid for doing

nithing [sic] . . . .”

         56.       When another correspondent privately approached McAfee in December 2017 about

McAfee serving as an adviser to the company’s business, McAfee responded: “Not interested. I have

no time to sell. If you want to use my name we can discuss.”

         57.       As more fully alleged below, McAfee also publicly and falsely claimed that he

personally invested in certain ICOs he was promoting, boasting how much money he was making

from investing in digital assets (thus misleading investors into thinking that he was making money

from identifying and investing in ICOs he believed were worthwhile) when, in reality, he was making

no such investments—he was being paid for the promotions.

         58.       For example, McAfee personally appeared in a rap music video that he posted to his

Twitter account in January 2018, shortly after the end of his promotion of ICO-1, called “The

McAfee Effect,” which included the lyrics: “Pickin ICOs that’s a . . . cash vault.”




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                1.      McAfee’s ICO-1 Tout

        59.     On December 17, 2017, approximately three days after the start of ICO-1, the

founder of ICO-1 (Founder-1) contacted McAfee to ask him to promote ICO-1, stating: “We do

not want to loose [sic] ourselves in the ocean of ICOs and we need your help for that.”

        60.     On December 19, McAfee replied that in exchange for 10 BTC and “a substantial

percentage of issued tokens,” McAfee would, among other things, “tweet reasonable numbers of

tweets, which have a huge impact on the Cryptocurrency market.”

        61.     Founder-1 replied to McAfee that Issuer-1 would “pay 10 BTC” for McAfee’s

promotion of ICO-1, but that Issuer-1 had not yet raised funds sufficient in ICO-1 to make such a

payment. Founder-1 instead proposed that he give McAfee daily payments amounting to 30% of the

total funds raised in ICO-1. McAfee agreed to promote ICO-1 on these terms.

        62.     On December 20, McAfee began his promotion of ICO-1 by tweeting from his

official Twitter account that Token-1 was “[t]he first token to open the door to a new paradigm of

social marketing” and was “a world changing coin and a world changing concept.”

        63.     Also on December 20, Watson’s then-wife tweeted a question to McAfee about

ICO-1 at the direction of McAfee and Watson. Seeking to increase the supposed allure of his

recommendations, McAfee publicly reply-tweeted that his “recommendation for [ICO-1] is for

experienced crypto investors only.” Despite his statement that ICO-1 was for “experienced”

investors only, McAfee quickly and soon thereafter directed another potential investor who replied

in the same twitter thread to ICO-1’s website, where the sales of Token-1 were ongoing.

        64.     On December 22, in a public reply to a user commenting on McAfee’s first

promotional tweet about ICO-1, McAfee insisted that “implying [Token-1] is a joke is a huge

mistake. Go to [Issuer-1’s website] and read it. You will see it is in the mold of a winner.”




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        65.     As McAfee began tweeting about ICO-1, Issuer-1 concurrently began promoting

that McAfee was the issuer’s main adviser and posted his picture on its website. McAfee initially

falsely created the impression that he was lending his expertise to the company, stating in replies to

questions posted by other users in response to his promotional tweets: “I am making sure that their

cyber security is perfect. Hackers are targeting coins as easy money these days.” McAfee knew or

recklessly disregarded the fact that he was not providing any cyber security guidance to ICO-1.

        66.     On December 20, in furtherance of his efforts to promote ICO-1 and Token-1,

McAfee also falsely tweeted that “[he] urged [Issuer-1] to let [him] assist” with ICO-1, when in fact,

as McAfee knew or recklessly disregarded, Founder-1 had sought McAfee’s promotional assistance

and McAfee was not “assisting” the company other than by making promotional tweets.

        67.     Later, on December 20, after McAfee confirmed to Founder-1 that he had received

his first payment for the promotion of ICO-1, McAfee coordinated with Founder-1 to further

increase the impact of his promotion by falsely disclaiming any connection between himself and

ICO-1. McAfee instructed Founder-1 that “for the next few weeks, take my name off your site. I

want to be able to leverage my Twitter with people assuming I have no relationship with you.

Removing my name now will add at least a million dollars to your sale.”

        68.     On December 20, McAfee tweeted that while he could not guarantee the success of

Issuer-1, he could “guarantee that [he saw] no better ICO than [ICO-1] at the current time.”

        69.     On December 21, McAfee publicly reply-tweeted: “If . . . you don’t mind holding a

coin for a couple of months then [ICO-1] is the best ICO out there,” and tweeted: “For those of my

trolls who call everything that I recommend a shit coin -- please read [ICO-1]’s white paper. It is

brilliant. [ICO-1] is also the first social marketing coin. Its potential could equal the success of

Twitter. So troll elsewhere or wise up and buy [ICO-1].”




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        70.     In a continued effort to ensure that more investors bought into ICO-1, whose

tokens could not at that time be resold on digital asset trading platforms, on December 24, McAfee

tweeted: “For everyone who has DM’d me about [ICO-1]: It is an ICO. You can’t buy it one day

and sell it the next. It is a longer term play. Wait for the ICO to finish and get listed on exchanges.

You must wait, but the returns will be way better. I explained this in my original tweet.”

        71.     On December 27, McAfee falsely reply-tweeted publicly: “[ICO-1] is also a great

ICO opportunity. . . . I have personally purchased a significant amount i[n] [ICO-1] . . . .” McAfee

knew or recklessly disregarded the fact that he had made no such investment in ICO-1.

        72.     McAfee also repeatedly promoted ICO-1 during the December 2017 Interview,

noting that “one of the reasons [he] like[d] [ICO-1] so much” is that “[t]he potential for growth is

tremendous,” predicting that “[i]f that thing does not go up by a factor of 50 in the first year [he’d]

eat [his] shoe,” and promising “it’s going to make you more money than anything you can invest in.”

        73.     During the December 2017 Interview, McAfee further and falsely claimed that he

was touting ICO-1 solely due to its merits and its benefits to society: “So people go . . . , ‘Why are

you promoting this?’ Because it is good for the world. It is good for you. It is good for everybody.”

        74.     On January 8, 2018, McAfee falsely announced on his Twitter feed that he had

“taken a formal advisory role in [ICO-1]. I heavily invested in [ICO-1], so I have a personal interest

in helping ensure that product development is properly done in a timely manner.”

        75.     In an attempt to further induce investors to buy into ICO-1, on January 13, McAfee

tweeted: “[ICO-1] is closing its pre-sale at 1:00 PM on January 15th. Last chance at 40% bonus.

Disclaimer . . . I am an advisor and investor of [ICO-1].”

        76.     McAfee knew or recklessly disregarded that these statements were false or misleading

when he made them, because in fact, McAfee never had a “formal advisory role” with or provided

cyber security advice to Issuer-1, and because McAfee never purchased any Token-1 securities;



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rather, McAfee only owned Token-1 securities because the issuer had issued them to him as

compensation for his promotions.

        77.     In the replies to McAfee’s initial promotional tweets about ICO-1, Twitter users

directly asked McAfee if he was receiving compensation to promote ICO-1. McAfee replied to these

questions falsely: “I do not. I merely sift through the mass [of] tokens to find the gems and share

them. It’s in everyone’s interest to support coins that improve our lives.”

        78.     Another Twitter user replied to one of McAfee’s tweets about ICO-1 stating that

“[t]he money goes right into John’s pocket,” to which McAfee misleadingly publicly replied, he

“[w]ish[ed] it did.” McAfee knew or recklessly disregarded these statements were false or misleading

as he was, in fact, being compensated for the promotional statements and did not sift through

tokens to “find” ICO-1 but, instead, had been contacted by Founder-1 to promote ICO-1.

        79.     McAfee’s false statements on Twitter about ICO-1 were important to investors

considering whether to invest in ICO-1. For example, one commenter on a digital asset discussion

forum stated that “[a]dding JM [John McAfee] best strategic move I have ever seen an ICO do”

because it demonstrated that the company was “getting accredited by people in the industry,” which

would “get people to believe in it more.” Others noted that ICO-1 was an “[i]nteresting project and

if John McAfee said what he said I’m in,” or that McAfee “has had success in other ICO[s] as well

and believes in this product.”

        80.     Token-1 tokens were sold in ICO-1 for 0.003 ETH per token, with additional tokens

provided as a “bonus” depending on when the investor invested. Today, Token-1 no longer trades

on digital asset trading platforms, and thus has little to no value.

                2.      McAfee’s ICO-2 Tout

        81.     On January 1, 2018, McAfee tweeted: “ICO of the week: [ICO-2]. [Issuer-2] is a

distributed version of Amazon.com. [I]t allows simple and secure creation of e-commerce sites –



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searchable in the same manner as Amazon – but with no Amazon as middle man. This could be as

huge as it gets in the blockchain world.” Also on January, in reply to a response to this tweet,

McAfee said: “You buy by clicking [link to the “crowdsale” page on ICO-2’s website].”

        82.     On January 3, McAfee reply-tweeted: “. . . [ICO-2] will likely replace Amazon.com. It

is the first distributed version of Amazon. If you cannot see the value of a distributed version of

Amazon - without the cost of goods increased by the middleman (Amazon) then I’m sorry.”

        83.     On January 6, McAfee tweeted: “I have become an advisor to [ICO-2]. I

recommended them recently and, as an early investor in their ICO, I want to make sure they succeed

in implementation. I love Amazon,com [sic], but I want everyone to have the ability to be their own

Amazon if they want to start an e-business.”

        84.     McAfee knew or recklessly disregarded that this statement was false or misleading

when he made it because McAfee was being secretly paid for these promotions, he never had an

advisory role with Issuer-2, and his only holdings related to ICO-2 were not the result of his

investment, but instead had been paid to him by the company as compensation for his promotions.

        85.     Issuer-2 sold 1,929 tokens in ICO-2 for 1 ETH, or approximately $0.45 per token as

of January 2, 2018. Today, Token-2 trades for approximately $0.003338 on digital asset trading

platforms, and are essentially worthless.

                3.      McAfee’s ICO-3 Tout

        86.     On December 7, 2017, a representative of Issuer-3 contacted McAfee by Twitter

DM to ask if McAfee “[w]ould . . . consider being an advisor for [Issuer-3].”

        87.     McAfee responded by asking whether Issuer-3 had a white paper, and stating that he

“require[d] a sign on payment plus a percentage of the tokens.”

        88.     The representative responded to McAfee that he could “give [McAfee] $25,000 USD

in BTC as a retainer up front/right now and then more BTC after [its] pre-sale and a large amount



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after the ICO for a total of $1,000,000 USD worth of BTC.” The representative also stated that he

would give McAfee “a portion” of the tokens that had been reserved for the Issuer-3 “founders’

pool,” and that the white paper was “in draft mode” so he could not provide it to McAfee.

        89.     McAfee, having not seen the ICO-3 white paper, nevertheless replied: “When I

receive the $25,000 I will announce my involvement and begin promoting you. You are correct – my

involvement will double your sales at the very least.”

        90.     On December 12, Issuer-3 sent McAfee BTC worth approximately $24,633.

        91.     On December 13, McAfee tweeted: “The skilled trade market . . . has enormous

middle man overhead – costing consumers billions each year. [Token-3] decentralizes this market

using smart contracts. Disclaimer – these folks are friends of mine – but brilliant friends.”

        92.     McAfee highlighted the influence of his promotions in a private message to a

representative of Issuer-3 on December 14, saying that his tweet from the previous day had been

seen 86,903 times, and had 3,085 “interactions” (i.e., generated clicks, replies, likes, and other actions

by readers) with the tweet.

        93.     On December 19, McAfee tweeted: “One of the most interesting brick and mortar

ICOs I’ve seen. Shout out to [ICO-3]. Note: These folks are friends of mine.”

        94.     On January 6, 2018, which was one of the first days of the ICO-3 offering, McAfee

tweeted: “ICO of the week: [ICO-3]. Disclaimer: I am an investor and fan. Already has more than

50,000 customers matched with home repair pros and their growth is stunning. Removes

middlemen, reduces fraud, slashes cost. Who wouldn’t want a piece of [Issuer-3?]”

        95.     In fact, as McAfee knew or recklessly disregarded, he had never invested in ICO-3,

and was not “friends” with its issuer. The only assets McAfee received in connection with ICO-3

were not the result of his investment, but were paid to him as compensation for his promotion.




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        96.     On January 7, McAfee privately messaged the representative of Issuer-3 saying that

his January 6 tweet had 480,470 “Impressions” and 32,409 “Total engagements” on Twitter.

        97.     Also on January 7, 2018, McAfee sent an ethereum wallet address to the

representative of Issuer-3 to receive the ETH payments for his promotion of ICO-3.

        98.     On January 11, the representative of Issuer-3 received a Twitter DM from McAfee’s

official Twitter account, signed by Watson as “Executive Advisor,” stating:

                Mr. McAfee has decided to discontinue promoting your ICO. The daily
                payments have been insignificant compared to the other ICOs that he is
                promoting. Since there are a limited number of tweets that he can do each
                week and have the tweets remain effective, he believes, from a business
                standpoint, it makes more sense to tweet an ICO that is performing at least
                closer to average return. There is no need to transfer any more funds. Mr.
                McAfee and the team wish your ICO all the best. Thank you.

        99.     McAfee subsequently deleted his January 6, 2018, tweet concerning ICO-3.

        100.    Token-3 tokens were sold in ICO-3 for 6,000 tokens per 1 ETH, or approximately

$0.192 per token as of January 7, 2018. Today, Token-3 trades for approximately $0.0017, and are

thus essentially worthless.

                4.      McAfee’s ICO-4 Tout

        101.    On December 31, 2017, a representative of ICO-4 emailed McAfee to retain him to

promote ICO-4, and on January 1, 2018, noted that Issuer-4 hoped to raise 6,900 ETH, worth

approximately $5 million USD, which would allow them to make horror films, the intended purpose

of the company, and proposing to give McAfee 30% of the amount raised.

        102.    The representative further discussed how McAfee could profit from the company’s

digital assets if he promoted ICO-4, but noted: “Of course I can’t mention any of this in our

whitepaper since the SEC views mentioning even the smallest hint of profit as a qualifier to deeming

a token a security, but I’ve added enough for an experienced investor to read between the lines.”




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        103.    On January 1, McAfee replied: “With my help you will quickly generate 6,900 Ether.

You might consider upping it to at least 9,000 +.”

        104.    The Issuer-4 representative replied to McAfee: “The smart contract we are using has

a hard cap of about 50,000ETH if we were to give you 40% of the supply of tokens. . . . My offer to

you is 40% of the tokens, and 30% of the ICO take. Paid daily.” McAfee replied “[a]ccepted,” and

forwarded the correspondence to Watson.

        105.    On January 7, Watson replied to the email chain, representing himself as McAfee’s

“Exec Advisor” and asking the issuer to call his “office phone to discuss further details . . . .”

        106.    On January 8, after arranging a call between the representative of Issuer-4 and

McAfee, Watson, acting at McAfee’s direction, reconfirmed by email to Issuer-4 the promotional

agreement “for the deal of 40% tokens and 30% per day for the duration of [ICO-4].”

        107.    McAfee then tweeted: “2nd Weekly ICO choice: [ICO-4]. I couldn’t resist. [Token-4]

fuels financing and distributing horror films. It takes power from the boardroom and gives it back to

the filmmakers - hopefully encouraging creativity. I love horror films and will invest.” As McAfee

knew or recklessly disregarded, he had no intention of investing in ICO-4, but was falsely tweeting

that he would because Issuer-4 had paid him to promote the token.

        108.    McAfee subsequently deleted his tweet concerning ICO-4. On January 20, the

representative of ICO-4 wrote to McAfee by email: “A few members of our community noticed you

had deleted the [Issuer-4] tweet. Are there any issues?” Watson replied: “Unfortunately, your ICO is

not doing as well as ICOs Mr. McAfee has promoted in the past. We are discontinuing the

promotion at this time.”

        109.    Token-4 tokens were sold in ICO-4 for approximately $0.114 per token as of January

8, 2018. Today, Token-4 trades for approximately $0.000212, and are thus essentially worthless.




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                5.        McAfee’s ICO-5 Tout

        110.    On January 15, 2018, Watson, acting at McAfee’s direction, sent a representative of

Issuer-5 a digital wallet address controlled by McAfee and said: “Mr. McAfee will begin promoting

your ICO very shortly. 24 hours after his first tweet, a payment of 25% of ICO income should be

sent on a daily basis.”

        111.    McAfee then tweeted: “Second ICO of the Week: [ICO-5]: [link to ICO-5 Website].

Will likely replace Spotify and become the virtual jukebox for businesses. . . . Love this one.”

        112.    On January 19, McAfee tweeted: “[Issuer-5] reached its soft cap today.

Congratulations,” and posted a link to the ICO-5 offering website.

        113.    On January 20, McAfee tweeted: “[ICO-5] seems on track. A goid [sic] investment

for the ICO adherents among you,” and posted a link to the ICO-5 offering website.

        114.    On January 22, McAfee retweeted a tweet by his own spouse regarding her

purported investment in ICO-5 and said: “It’s a sound investment and the [Issuer-5] team would

have to fuck up royally not to succeed . . . .”

        115.    On January 26, McAfee tweeted: “[Issuer-5] on track to reach its hard cap,” and

posted a link to the ICO-5 offering website.

        116.    Token-5 tokens were sold in ICO-5 for 70,000 tokens per 1 ETH, or approximately

$0.018 per token as of January 15, 2018. Today, Token-5 trades for approximately $0.00011, and are

thus essentially worthless.

                6.        McAfee’s ICO-6 Tout

        117.    On January 14, 2018, Watson, acting at McAfee’s direction, wrote to a representative

of Issuer-6, who had previously reached out to a McAfee-controlled email address:

                Mr. McAfee just finished two ICOs that he was advising and is available as
                an advisor. If you are interested, he charges 25% of the ICO income, paid
                daily, and a percentage of the coins. He will only work with ICOs that use
                reputable Crowd funding sites so that he is assured the daily income counter

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                is correct. If you meet these guidelines, he might be able to help advise you.
                He would also require the time necessary for your site to be audited, to
                ensure that he is not recommending a questionable company. Thank you.

        118.    On January 15, Watson, again at McAfee’s direction, wrote to the representative of

Issuer-6: “If you can provide evidence of having a way to show proof of daily ICO income, Mr.

McAfee can begin his first promotional tweet tonight. Please keep in mind, 25% of your ICO daily

income is required every day of your ICO sale. Generally, he also takes a percentage of coin . . . .”

        119.    The representative of Issuer-6 agreed to these terms, and wrote to Watson: “Since

Mr. McAfee will become an advisor, I have two final questions. 1) can we add him to our website

now? 2) how do we reach him in case we have a question?”

        120.    Watson replied:

                Mr. McAfee has requested that you wait until two days after his first tweet to
                place his name on your website. There is a reason for everything. Please
                provide exact date of your ICO start date, or has it already begun? Whatever
                the answer, Mr. McAfee’s timing, method, and tweets is [sic] designed to
                promote your ICO to its max potential. If we are in agreement please
                confirm start date and Mr. McAfee will send his first tweet shortly. I am
                sending his Etherium [sic] address in next email. The 25% will be due
                24hours [sic] after his first tweet.

        121.    On January 17, McAfee tweeted: “Want to park your money in a safe place that may

have great upside? ICOs are King in this market . . . Be sure to fully read the white papers and check

out carefully. I’m considering [ICO-6],” and posted a link to ICO-6’s website.

        122.    On January 18, McAfee tweeted: “Audit of the [ICO-6] which I recommended

yesterday. It should answer the many questions about [Issuer-6] which I received,” and included a

link to a supposed audit of ICO-6.

        123.    On January 24, in response to questions in his replies on Twitter about whether he

was compensated for his tweet touting ICO-6, McAfee wrote:

                Why does everyone assume I fucking get paid for everythings [sic] I tell
                people to check out???????? Can’t I fucking point out items of interest? Why



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                the fuck do I need money. Google me. And it’s fucking rude to ask peopler
                [sic] what they make. How much do you make at your work??”

        124.    In fact, at this time McAfee had already begun receiving payments from ICO-6,

which ultimately totaled approximately $110,130 USD worth of ETH.

        125.    On January 24, McAfee falsely and misleadingly tweeted that he had chosen ICO-6

to recommend for investment because of “the potential value of the coin” that supposedly “could

make [ICO-6] a giant,” when, in reality, and as he knew or recklessly disregarded, he had not chosen

ICO-6 for investment, but, rather, was being paid to promote the ICO.

        126.    Token-6 tokens were sold in ICO-6 for 3,000 tokens per 1 ETH, or approximately

$0.338 per token as of January 17, 2018. Today, Token-6 no longer trades on digital asset trading

platforms, and has little to no value.

                7.      McAfee’s ICO-7 Tout

        127.    On January 29, 2018, McAfee tweeted: “A fascinating ICO – [ICO-7]. Combines

social media with physical action. They already have 1.2 million users. A combination of MTV,

Jackass and viral videos, it allows users to challenge each other to perform any act . . . ,” referring to

the supposed purpose of the fundraise for ICO-7.

        128.    On January 29, McAfee also tweeted: “We found out that [ICO-7], the ICO I talked

about earlier today, has both an Android and IOS app. We have been using it all afternoon. This iis

[sic] some fun shit. Try it yourselves. Just one more reason I believe this coin is going to fly.”

McAfee subsequently posted additional tweets about his use of the Issuer-7 app.

        129.    On January 31, McAfee tweeted: “[ICO-7] is performing well. The token price is

going up 50% tomorrow. If you invest in ICOs you should check this one out before tomorrow.”

        130.    In a reply to his January 31 post, McAfee continued to urge readers to invest in ICO-

7: “An ICO is an initial coin offering. You buy the Coin before it is listed on an exchange. More

often than not the early buy in returns far more than buying the Coin on an exchange.”

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        131.    On February 5, McAfee tweeted: “[ICO-7] is undervalued right now. In the next 2

years this project will disrupt the gaming and entertainment market which is a $100 billion dollar

opportunity—a gem of information . . . .”

        132.    An ICO-7 “cold storage” wallet address (a device or software used to store digital

assets offline) made nine direct ETH transfers to McAfee, on a daily basis from January 30 through

February 7, 2018, as payment for his promotions.

        133.    Token-7 sold for between approximately $0.02 and $0.04 during ICO-7. Today,

Token-7 trades for approximately $0.000424, and is thus essentially worthless.

        B.      McAfee Continues to Deceive Investors About His Role in the Touted ICOs
                After His Touting Scheme Is Uncovered

        134.    On February 8, 2018, a blogger on an online messaging board posted a message

(“the February 8 Post”) speculating about McAfee’s relationship to ICO-7, noting that: (a) ICO-7

had raised less than 10% of its funds from the beginning of the ICO around December 25, 2017, to

before McAfee’s first promotional tweet on January 29, 2018; (b) interest in the ICO had increased

substantially after McAfee’s series of tweets in the week following January 29, 2018; (c) prior to

January 29, 2018, investors could use six forms of payments to invest in ICO-7 but that on that date

all funds started flowing into a consolidated Ethereum address; (d) McAfee had been announced as

an “advisor” to ICO-7 on January 30; and (e) the consolidated address, which had been made public

by the team behind ICO-7, had made several large transfers of the funds raised to one single wallet.

        135.    The team behind ICO-7 had in fact announced that all of the ETH raised would be

transferred to a single “cold storage” wallet, supposedly due to the potential risk of hacking.

        136.    Based on the foregoing, the author of the February 8 Post argued that McAfee took

what had been an unsuccessful project and pumped it to unwitting investors for undisclosed

compensation, concluding “that the transactions [of ETH transfers] were a reward for advertising by

McAfee,” and that McAfee’s actions were “a good reason to write . . . to SEC [sic].”


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        137.     Indeed, the nine consecutive transfers to McAfee from the “cold storage” ICO-7

wallet address (all made after McAfee’s promotions began) were both easy to trace and difficult to

explain, as McAfee had not disclosed that he was being compensated for his promotion of the ICO-

7, while it was apparent that payments from the ICO-7 issuer’s “cold storage” wallet were being sent

to a single digital asset immediately after McAfee’s promotion began.

        138.    On February 9, a member of the ICO-7 team forwarded a link to the February 8

Post to Watson, asking him to coordinate a response with McAfee, noting people would “become

suspicious if we . . . remain silent for a long time.” Watson forwarded the email to McAfee.

        139.    On February 11, McAfee issued a statement on Twitter entitled “The McAfee Team

and ICOs,” where he for the first time admitted that he was being paid for promotions, while

repeating his false claims that his team reviewed and picked the “best” ICOs for his

“recommendations,” and that he was offering “advice” (in addition to promotional services) to the

issuers. The statement refused to disclose how much McAfee charged for his “services” claiming

“[i]t is no one’s business other than ours and the companies we support.”

        140.    McAfee knew or recklessly disregarded that these statements were false or misleading

when he made them, including because his team did not “pick” the ICOs for his recommendations

and because he did not offer “advice” beyond promotional services to the ICO issuers.

        141.    Following the February 8, 2018 blog post accusing McAfee of receiving undisclosed

compensation and McAfee’s February 11, 2018, statement, fewer issuers contacted McAfee to

promote their ICOs and the impact of his touts receded considerably.

        C.      McAfee’s Scheme to Cash Out of Proceeds Earned from the Touted ICOs

        142.    After he was forced to disclose his compensation arrangement with the ICO issuers

he had been promoting and his promotional efforts became ineffective, McAfee was left with

millions of the digital assets that he had received as payment for his earlier touts.



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          143.    Although these digital assets had been worth millions of dollars around the time of

the ICOs, by March 2018 they were worth a fraction of that amount.

          144.    To unload these digital assets, McAfee orchestrated a scheme of paying a separate

promoter to tout the same tokens offered in the Touted ICOs without disclosing the arrangement.

          145.    In February 2018, McAfee had recognized that “bots” had been spamming his

Twitter posts and appropriating his identity on social media, and had hired an individual using the

Twitter handle @McAfeeclones to target and attempt to remove these online bots.5

          146.    Later, McAfee used @McAfeeclones’ bots to promote the tokens he had previously

touted to increase the price of these tokens so that he could sell them at inflated prices.

          147.    On March 3, 2018, McAfee sent a private Twitter DM to @McAfeeclones explaining

that he and his team had been recommending an ICO once or twice a week. McAfee wrote: “When

we do a promotion, I need someone who is a member of the major crypto trading blogs on the

various platforms to help us with outr [sic] promotion.”

          148.    McAfee explained that he wanted @McAfeeclones to:

                  1 . . . [F]ind the largest or most influential blogs, chat boards, social media
                  groups, etc. in the realm of crypto investing, crypto trading, crypto
                  promotion, ICO discussion groups, etc. 2. Join these groups and start
                  interacting with existing members. Do not mention ne [sic] or prom9te [sic]
                  anything at all until -- 3. I give you an ICO or existing coin to promote. I will
                  write your promotional posts for you for the first few months.

          149.    On March 6, McAfee instructed @McAfeeclones to promote the two digital asset

securities that constituted McAfee’s largest holdings from the ICO promotion scheme: Token-1 and

Token-2. @McAfeeclones then began “promoting every day in various groups.”




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    A “bot” is a software application that runs automated tasks (scripts) over the Internet.


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        150.    These promotions were successful in increasing the price of these assets. Less than a

week into this new scheme, @McAfeeclones wrote to McAfee that there was “[p]retty good

movement in price on [ICO-2] today, [ICO-1] only a little bit. I’ll work on promoting [it] more.”

        151.    In June 2018, McAfee requested another promotion of Token-2 by @McAfeeclones,

as he held more than 14.5 million tokens obtained as a part of his illegal promotion of ICO-2.

        152.    In total, McAfee sent 52 ETH (worth approximately $25,000) to @McAfeeclones

between March 2018 and June 2018 in connection with these undisclosed promotional efforts, and

@McAfeeclones did in fact promote Tokens-1 and 2.

        153.    McAfee undertook other efforts to pump the remaining tokens from his ICO

promotions. On May 24, 2018, McAfee tweeted: “McAfee Short Term Predictions,” which listed

McAfee’s target prices for certain digital assets, including “[ICO-2] will hit $.52 by mid July.” On

May 23, Token-2’s closing price was $0.089, but increased to $0.11 and then $0.15 in the next two

days, continuing to rise until it peaked at $0.26 on June 3, before falling.

        154.    McAfee did not disclose that he still held a position in these tokens and that he and

others were secretly attempting to dump McAfee’s ICO-2 digital assets at the time of this tweet.

        D.      McAfee Understood That His Conduct Was Illegal

        155.    From the outset McAfee knew or recklessly disregarded that his ICO promotions for

undisclosed compensation were illegal.

        156.    McAfee understood that his conduct was wrongful since at least June 2017, when he

began working on the launch of at least two ICOs of his own and wrote to an employee in

connection with one of these offerings that the ICO “can’t be seen as an IPO [initial public

offering]” because such a classification would have required the offerings to be registered with the

SEC.




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       157.    At that time, McAfee closely followed developments in the regulatory space

concerning digital assets, and certain of his correspondents specifically warned him that certain

ICOs likely were securities offerings and that celebrities who promote ICOs without disclosing their

compensation may violate the federal securities laws. For example:

               a.      On July 26, 2017, shortly after the Commission issued the DAO Report, one

       of his employees (Employee-1) sent McAfee an article entitled, “Oh Shit, the SEC Just Ruled

       That Ethereum ICO Tokens Are Securities,” which had as its subheading, “Some ICOs

       must be registered or they’re unlawful.”

               b.      On November 2, 2017, the day after the Celebrity ICO Statement was issued,

       McAfee also was explicitly warned by a correspondent via private Twitter DM about

       potential regulatory issues when the correspondent noted that “I hope the SEC statement

       about ICO doesn’t negatively affect anything with McAfee coin,” a token that McAfee had

       been considering issuing under his own name.

       158.    In December 2017, McAfee negotiated with another entity to provide it consulting

services. Their agreement, for which McAfee provided edits, provided that “taking a benefit of any

kind in exchange for writing . . . about a security or cryptocurrency could be a violation of law.” The

agreement further prohibited scalping (a term defined below) in any form.

       159.    On December 27, 2017, a correspondent proposed to McAfee that McAfee “buy the

dip” – i.e., buy a digital asset at a low price – and then endorse a token. He then texted McAfee that

“[i]f we don’t pay you, you don’t have to water down your endorsements by pointing [out that] you

are being paid as SEC required.”

III.   MCAFEE AND WATSON’S DIGITAL ASSET SCALPING SCHEME

       160.    Scalping is an illegal scheme whereby someone (i) obtains securities for his own

account prior to recommending or touting it to others; (ii) does not disclose in the tout the complete



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truth about his ownership of the securities and his plans to sell them; and (iii) proceeds to sell the

securities following the tout’s dissemination into the increased share price and trading volume

generated by his tout. McAfee and Watson engaged in this type of conduct with respect to at least

one digital asset: Token-8.

        161.    McAfee knew that the recommendation of a digital asset security for purchase while

simultaneously trying to offload a position in the digital asset was wrongful, just as he knew his

undisclosed promotions were unlawful. In the December 2017 Interview, McAfee warned investors

to view digital asset recommendations with suspicion because: “[Unscrupulous promoters] go, ‘Oh, I

love this one, or I love that one, and this looks great.’ They don’t know why they’re saying it. Maybe

they’re saying it because they bought 100,000 coins and they can’t sell them, right?”

        162.    Nevertheless, between December 2017 and February 2018, McAfee and Watson

identified digital assets, including the digital asset security Token-8, with respect to which they

believed McAfee’s Twitter promotions could move the market, accumulated large positions in those

digital assets in McAfee’s accounts, recommended the digital assets in tweets, and then dumped

McAfee’s holdings in a digital asset as the asset’s price increased in response to the tweet.

        163.    Starting in late 2017, McAfee announced that he would be tweeting a daily token

recommendation. Ultimately, between December 21, 2017 and February 22, 2018, McAfee

recommended at least 10 digital assets as his “Coin of the Day” (later “Coin of the Week”).

        164.    At the outset of this scheme, McAfee tweeted that “[m]ost of the 2,000 coins are

trash or scams. I’ve read every white paper. The few I’m connected to I will tell you. The rest I have

no position in. These coins will change the world. You can support that change.”

        165.    McAfee’s claims that he would tell his followers when he had a position in a digital

asset or that he had no position in these tokens were false, as he knew or recklessly disregarded.




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        166.    In advance of his market-moving tweets, McAfee had an employee purchase each

token several days prior to the announcement and then sell out shortly after McAfee’s tweet.

McAfee closely followed the sales of the digital assets that his employees conducted and generally

instructed his employees to sell the digital assets once the price had appreciated 30%.

        167.    On December 20, 2017, Watson performed several Google searches about Token-8.

Watson then discussed Token-8 with McAfee, who sent a Skype message two hours later to

Employee-1 asking “[w]hat do you think of [Token-8?]”

        168.    For the next two hours, Employee-1 sent messages to McAfee detailing his thoughts

on the company and its token. Employee-1 wrote that he was unable to obtain critical information

about the company, noting that he was unable to sign up for an account “to see what it even is,” and

that he was “fairly sure the white paper is stored next to the arc of the covenant in that Indiana jones

warehouse.” Nonetheless, the employee was able to glean some basic information on the company

and the token from other sites and provided McAfee with a high level overview.

        169.    On December 21, McAfee announced on his Twitter feed: “[Token-8] – the first of

my daily coin reports” and attached a screenshot containing what purported to be his analysis of the

company. In that purported analysis, McAfee made numerous positive claims about Token-8,

including that “[a]t $0.08 it is seriously cheap,” without disclosing that he had accumulated a position

inToken-8 and planned to sell the tokens for a profit following his recommendation.

        170.    McAfee knew or recklessly disregarded that his misleading Twitter promotions

would affect the price of Token-8—indeed, he intended that very result.

                a.      For example, as Employee-1 explained to McAfee in a message: “we both

        know your name carries weight over there [in New Zealand, where Token-8 was traded on a

        digital asset platform] like no other . . . they are literally going to shit their pants when they

        wake-up tomorrow and see they just got a 500,000 endorsement equivalent” and “I think



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        your word (especially as far as spreading this platform to the united stated [sic] will be

        tremendous).”

                b.      The interviewer during the January 2018 Interview similarly stated his belief

        that McAfee’s tweets moved digital asset prices for already-trading tokens anywhere between

        50 and 350%, and McAfee acknowledged in that interview that trading by bots on the tokens

        increased their “pump and dump potential.”

        171.    Nearly all of the statements in McAfee’s purported analysis of Token-8, posted on

December 21, which were presented as McAfee’s personal opinion and as if based on his careful

review, were in fact taken almost verbatim from Employee-1’s research, conducted without

reviewing the company’s white paper or looking at its website. Several of the claims were also false,

such as that McAfee had purportedly reviewed numerous messages referring to Token-8 as “the

holy grail of crypto”—a line that McAfee actually copied from his employee to further his scheme.

        172.    Following his announcement regarding Token-8, McAfee falsely told a Twitter user

that he did not own the token. The user asked where Token-8 could be purchased. McAfee referred

the user to a New Zealand-based digital asset trading platform and stated: “You ask how I cannot

know [where the token trades] - - I own no [Token-8]. I am not pumping for my gain. I am showing

you the incredible value of supporting a coin that will change the world.”

        173.    McAfee knew or recklessly disregarded that these statements were false or misleading

when he made them because he was doing exactly that—pumping Token-8 for his own gain, with

the undisclosed intention to sell it once he had sufficiently inflated its value.

        174.    At the direction of McAfee, two members of his team had invested 4 BTC into

Token-8 prior to the pump—the equivalent of roughly $70,000 at the time. The price of Token-8

rose 50% immediately after McAfee’s tweet—from $0.08 to $0.12, before returning shortly after to




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roughly $0.09—generating instant profits for McAfee and his team, which they realized by selling

McAfee’s Token-8 holdings on the New Zealand-based digital asset trading platform.

IV.     WATSON’S ADDITIONAL ACTIONS WITH RESPECT TO THE SCHEMES

        175.    Watson participated in and provided substantial knowing or reckless assistance to

McAfee in connection with McAfee’s ICO promotion and scalping schemes in additional ways to

those described above.

        176.    Watson triaged the requests from ICO issuers for promotion for McAfee’s approval,

and negotiated the terms of the undisclosed payments for promotions on McAfee’s behalf. For

example, in a January 2018 email, sent by Watson to himself, with the subject line “What to say,”

Watson wrote: “Mr. McAfee promotes ICOs for 25% of the ICO income plus a percentage of the

coins. Please let us know if you are interested.”

        177.    To deceive investors into thinking McAfee was impartial, Watson instructed at least

some of the Issuers conducting ICOs that McAfee was promoting not to indicate on their social

media accounts or websites that McAfee was involved with their ICOs when McAfee first began

tweeting about them.

        178.    Watson also received deceptive proposed language for promotional tweets from the

issuers, which he passed on to McAfee, who then included the language in his tweets. These tweets

did not disclose that McAfee was being compensated for his posts.

        179.    Watson had his then-wife convert digital asset proceeds from the touting and

scalping schemes into fiat currency, send the funds to bank accounts he and McAfee controlled, and

directed his then-wife to tweet fake interest in an ICO that McAfee was promoting to create a

deceptive illusion of interest in that ICO.

        180.    Watson received at least $316,000 in proceeds from the ICO touting scheme, and

helped McAfee cash out the funds and digital asset securities McAfee was paid for his promotions.



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        181.    Watson also knew that the digital asset offerings McAfee promoted were securities

offerings and that McAfee’s conduct was illegal. For example, in January 2018, the CEO of an ICO

issuer complained to Watson by text message that “I’m getting a bunch of grief about the Howey

Test due to the SEC chairman’s last rant about crypto” (referring to the Supreme Court’s decision in

SEC v. W.J. Howey, 328 U.S. 293 (1946), and, presumably, to a speech by the SEC’s Chairman which

can be found at https://www.sec.gov/news/speech/speech-clayton-012218), to which Watson

replied, “Yeah it’s a crazy world right now.” Watson nevertheless continued to negotiate with the

CEO and had McAfee tweet about its ICO for undisclosed compensation.

V.      THE TOUTED ICOs AND TOKEN-8 WERE OFFERED AND SOLD AS
        INVESTMENT CONTRACTS AND WERE THEREFORE SECURITIES

        182.    The digital assets offered and sold in the Touted ICOs and in ICO-8, were offered

and sold as “investment contracts” and were therefore securities within the meaning of Section

2(a)(1) of the Securities Act [15 U.S.C. § 77b(a)(1)] and Section 3(a)(10) of the Exchange Act [15

U.S.C. § 78c(a)(10)], because they were offered and sold to potential investors as an investment of

money in a common enterprise with an expectation of profits to be generated from the efforts of

the issuers and/or other third parties.

        183.    The Touted ICOs and ICO-8 thus constituted offers and sales of securities.

        184.    All of the issuers of the Touted ICOs and of ICO-8 accepted ETH in exchange for

the tokens they were selling; ICO-1, ICO-3, ICO-7, and ICO-8 also accepted BTC; and ICO-3 and

ICO-7 also accepted fiat currency. Each of these represents an investment of “money” for purposes

of the determining the existence of an investment contract under the federal securities laws.

        185.    Before and at the time of ICO-1 for Token-1:

                a.      Issuer-1 led prospective investors to reasonably expect profits based on the

        efforts of others by, among other things, referring to ICO participants as “investors,” and




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explaining that the company would determine how many tokens it would retain at the end of

the crowdsale in part to “protect investors.”

        b.      ICO-1 investor assets were pooled to fund Issuer-1’s business model and

Issuer-1 reserved 35% of all Token-1s for itself.

        c.      Issuer-1 touted its ongoing and promised future efforts to increase the value

of Token-1, by stating, among other things, specific actions that the company intended to

take following completion of the offering, including research and development; creating

strategic partnerships and joint ventures; establishing data centers; and creating the platform.

Issuer-1 also stated that a significant portion of the funds raised in ICO-1, totaling 55% of

the token total value, would be allocated to these activities, among others.

        d.      Issuer-1 emphasized to potential investors that Token-1 would be traded on

digital asset trading platforms shortly after the end of the ICO-1, and specifically stated: “the

exchanges will list [Token-1] end of February, after the ICO ends. We are discussing with all

major exchanges currently.”

186.    Before and at the time of ICO-2 for Token-2:

        a.      Issuer-2 led prospective investors to reasonably expect profits based on the

efforts of others by, among other things, discussing the profit potential of Token-2 in public

fora, including by stating: “I can’t give any details about the price a token would be on

exchanges. What [I] can tell you however is that spending 1btc gives you 2btc worth of

tokens during presale. A smart move would be to keep all but if you are in for short term

profits then you can always sell your bonus a get some return on investment . . . .”

        b.      Investor assets were pooled to fund Issuer-2’s business model and Issuer-2

disclosed that it had distributed 15% of all tokens to itself.




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        c.       Issuer-2 touted its ongoing and promised future efforts to increase the value

of Token-2, by stating, among other things, specific actions that the Issuer-2 team intended

to take following completion of the offering, including making technological improvements

to the platform; marketing; user training; and establishing a token buyback program. Issuer-2

stated on its Twitter feed that “we’re all workin’ hard to make this a winner for all.”

        d.       Issuer-2 emphasized to potential investors that Token-2 would be traded on

digital asset trading platforms shortly after the end of the ICO-2, specifically stating: “Yes

[you can re-sell Token-2 right after purchasing in the ICO] . . . if you have a small list of

investors . . . you can be very smart and scoop as many tokens during presale (100% bonus).

. . . After presale the scarcity starts . . . . And price doubles . . . . You can then sell your bonus

to your investors at crowdsale price . . . .”

187.    Before and at the time of ICO-3 for Token-3:

        a.       Issuer-3 led prospective investors to reasonably expect profits based on the

efforts of others by, among other things, referring to ICO participants as “investors,” and

claiming that Token-3 represented a “profit sharing token that also has a utility aspect.”

        b.       The white paper for ICO-3 explained that the “[Token-3] is the investor’s

stake in [Issuer-3]. This ensures that the value of [Token-3] grows over time, as [Issuer-3]

grows through the United States and internationally.”

        c.       Investor assets were pooled to fund Issuer-3’s business model, including

creating the platform for Token-3, and Issuer-3 disclosed that it has reserved 20% of all

tokens for management and another 20% of the tokens for the company.

        d.       Issuer-3 touted its ongoing and promised future efforts to increase the value

of Token-3, by highlighting, among other things, the expertise of Issuer-3’s team and the

specific steps the company intended to take at the completion of the offering, including the



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development of the platform, the recruitment of contractors, and the marketing of the

company’s services. Comments from investors in public fora made clear that these offering

participants valued the experience of the team.

188.    Before and at the time of ICO-4 for Token-4:

        a.      Issuer-4 led prospective investors to reasonably expect profits based on the

efforts of others by, among other things, noting to potential investors in a public forum that

“[s]econdary markets are very important for tokens, [Token-4] included,” and that they

“can’t really go into detail about that subject otherwise I could get in trouble with the SEC.”

        b.      Investor assets were pooled to fund Issuer-4’s business model, and Issuer-4

disclosed that its founders and partners had retained 20% of all tokens.

        c.      Issuer-4 touted its ongoing and promised future efforts to increase the value

of Token-4, by, among other things, touting the expertise of the company’s team and its

advisers, which included individuals who had “created some of the most successful horror

movies in history.”

        d.      Issuer-4 further explained that unsold tokens from the offering would be

used by the company to attract additional talent and develop partnerships with individuals

and companies to help Issuer-4 reach its goals.

        e.      Issuer-4 emphasized to potential investors that Token-4 would be traded on

digital asset trading platforms shortly after the end of ICO-4.

189.    Before and at the time of ICO-5 for Token-5:

        a.      Issuer-5 led prospective investors to reasonably expect profits based on the

efforts of others by, among other things, touting the profit potential of Token-5 in public

statements to potential investors. In a press release, Issuer-5 explained that “[Issuer-5] will

introduce tokens ([Token-5]) for the platform that would give patrons voting rights and even



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allow them to add songs to the playlists. The trading of those tokens is expected to drive up

the cost of each [Token-5][,] which will create profits for early [ICO-5] investors.” The

company also noted that “[w]e are so confident in the success of the [ICO-5] because we see

the explosion of profits that is already taking place.”

        b.      Investor assets were pooled to fund Issuer-5’s business model, and Issuer-5

disclosed that it had retained 15% of all tokens for the company.

        c.      Issuer-5 touted its ongoing and promised future efforts to increase the value

of Token-5, by, among other things, touting the experience of its team and developers in

public fora. Issuer-5’s white paper also detailed specific tasks that would be completed by its

team, and explained that the funds from the offering would be used to develop its platform,

including developing a mobile app, licensing the company’s services in the U.S. and overseas,

developing content for the platform, and marketing the company.

        d.      Issuer-5 emphasized to potential investors that Token-5 would be traded on

digital asset trading platforms shortly after the end of ICO-5, including stating in its public

messaging forum that “there is a lot of room with price speculation.”

190.    Before and at the time of ICO-6 for Token-6:

        a.      Issuer-6 led prospective investors to reasonably expect profits based on the

efforts of others by, among other things, touting the profit potential of Token-6 in public

statements to potential investors. In its white paper, Issuer-6 emphasized that the finite

number of tokens would naturally lead to investor profits: “as the crypto token network

grows, there are more people circulating the crypto token, and the market forces of supply

and demand cause the value of the crypto token to rise.” Issuer-6 also emphasized the

specific milestones the company hoped to achieve, as detailed in paragraph 190(c) below.




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        b.      Investor assets were pooled to fund Issuer-6’s business model, and Issuer-6

disclosed that it had retained 20% of all tokens for the company.

        c.      Issuer-6 touted its ongoing and promised future efforts to increase the value

of Token-6, by, among other things, touting the experience of its team and developers in its

white paper. The ICO-6 white paper also contained a roadmap detailing specific milestones

that the company hoped to achieve in the year following the token sale, including a “design

phase” for the platform, development of the actual platform, and testing the product.

        d.      In its white paper, Issuer-6 explained that the funds collected in the token

sale would be used to “fund [the company’s] development,” including the recruitment of

software developers and hiring of a “growth marketer” to promote Issuer-6.

        e.      Comments from investors in public fora made clear that these offering

participants expected to profit from holding Token-6.

191.    Before and at the time of ICO-7 for Token-7:

        a.      Issuer-7 led prospective investors to reasonably expect profits based on the

efforts of others by, among other things, touting the profit potential of Token-7 in public

statements to potential investors. In the ICO-7 white paper Issuer-7 explained that “[t]he

total number of tokens is strictly limited by the initial issue. Therefore, a deflationary

economic model has been created within the framework of the platform. It provides an

increase in the value of tokens over time.” The company also claimed that “[w]e can’t sleep

until we make our investors rich.”

        b.      Investor assets were pooled to fund Issuer-7’s business model and Issuer-7

disclosed that it had retained 10% of all tokens for the company.

        c.      Issuer-7 touted its ongoing and promised future efforts to increase the value

of Token-7, by, among other things, touting the expertise of its team and the support of its



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“legendary advisers” as being critical to the company’s success. Issuer-7’s white paper also

detailed discrete tasks that would be completed by its team, and explained that the funds

from the offering would be used to develop the Token-7 platform; create “viral content”

relating to the platform; and market the product.

192.    Before and at the time of ICO-8 for Token-8:

        a.      Issuer-8 led prospective investors to reasonably expect profits based on the

efforts of others by, among other things, touting the profit potential of Token-8 in public

statements. In its white paper, Issuer-8 answered the question of “[w]hy would someone

invest in [ICO-8]?” by stating that Token-8 would have “great appeal for: Long-term

holders. Those who wish to buy and hold [Token-8] for any potential future value.”

        b.      Investor assets were pooled to fund Issuer-8’s business model, and Issuer-8

disclosed that it had retained 20 million tokens for the company.

        c.      Issuer-8 touted its ongoing and promised future efforts to increase the value

of Token-8, by, among other things, detailing various milestones the company hoped to

achieve, including integration of a global SMS message system to the app; international

promotion of the product; global translation of the app; and development of a “GUI CPU

miner.” The ICO-8 white paper further explained that “[a] team will be concurrently

building the virtual currency exchange app . . .” Comments from investors in public fora

made clear that they were relying on Issuer-8 to undertake efforts to further develop the

platform and thereby increase the price of Token-8.

        d.      At the time of ICO-8, the platform for which Issuer-8 stated it was raising

funds in ICO-8 to develop was still in development. Issuer-8 explained that “we are raising

money in this token sale for a more ambitious plan,” with the “scope of our long terms goals

. . . largely defined by the funds raised in the crowdfunding token sale.”



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                e.      Issuer-8 emphasized to potential investors that Token-8 would be traded on

        digital asset trading platforms shortly after the end of ICO-8, including stating in its white

        paper that “[w]e are allowing people a chance to purchase [Token-8] in advance of it being

        listed on the various exchanges.” The company further explained that Token-8 would be

        available to token sale participants—whom the company described as “investors”—before

        they were made available to the general public.

        193.    Moreover, before and at the time of each of the seven Touted ICOs and the ICO for

Token-8, there was no consumptive “use” for any of the eight tokens being offered in the particular

ICOs, and the platforms for which the eight issuers stated they were raising funds to develop had

not been developed or were still in development.

        194.    McAfee acted knowingly, or at the least recklessly, in connection with the conduct

set forth above, and also acted negligently, by failing to use the degree of care in this conduct that a

reasonably careful person would use under like circumstances.

        195.    Watson acted knowingly, or at the least recklessly, in connection with the conduct set

forth above, and also acted negligently, by failing to use the degree of care in this conduct that a

reasonably careful person would use under like circumstances.

                                  FIRST CLAIM FOR RELIEF
                          Violations of Section 17(b) of the Securities Act
                                         (Against McAfee)

        196.    The Commission realleges and incorporates by reference here the allegations in

paragraphs 1 through 194.

        197.    By engaging in the acts and conduct described in this Complaint, Defendant McAfee

made use of the means and instruments of transportation or communication in interstate commerce

or of the mails to publish, give publicity to, or circulate a notice, circular, advertisement, newspaper,

article, letter, investment service, or communication which, though not purporting to offer securities



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(the digital asset securities Tokens-1 through 7) for sale, described such securities for a consideration

received or to be received, directly or indirectly, from an issuer, underwriter, or dealer, without fully

disclosing the receipt, whether past or prospective, of such consideration and the amount thereof.

        198.    McAfee (acting individually and/or through his agents) violated Section 17(b) of the

Securities Act by, among other things, directly or indirectly, publishing communications on Twitter

and other publicly available fora, describing Tokens-1 through 7, all digital asset securities, in

exchange for compensation in the form of various digital assets, without fully disclosing the past

and/or intended receipt of such consideration and the amount thereof.

        199.    By reason of the conduct described above, McAfee violated and, unless enjoined will

again violate, Section 17(b) of the Securities Act [15 U.S.C. § 77q(b)].

                                SECOND CLAIM FOR RELIEF
                    Violations of Section 17(a)(1) and (3) of the Securities Act
                                  (Against McAfee and Watson)

        200.    The Commission realleges and incorporates by reference here the allegations in

paragraphs 1 through 195.

        201.    By engaging in the acts and conduct described in this Complaint, Defendants

McAfee and Watson, directly or indirectly, singly or in concert, in the offer or sale of securities (the

digital asset securities Tokens-1 through 8), and by the use of the means or instruments of

transportation or communication in interstate commerce or the mails, (1) knowingly or recklessly

employed one or more devices, schemes or artifices to defraud, and/or (2) knowingly, recklessly, or

negligently engaged in one or more transactions, practices, or courses of business which operated or

would operate as a fraud or deceit upon the purchaser.

        202.    McAfee (acting individually and/or through his agents) violated Sections 17(a)(1) and

(a)(3) of the Securities Act by, among other things, directly or indirectly, with scienter: taking

affirmative steps to conceal, and/or deceive investors respecting, his receipt of compensation for his



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promotional communications regarding the digital asset securities offered and sold in ICOs-1

through 7; directing and overseeing the work of his agents to coordinate and carry out the

promotional campaigns; and directing certain issuers of the digital assets securities offered and sold

in ICOs-1 through 7 to mislead, and himself misleading, the public about his involvement with such

issuers. McAfee’s intentional or reckless failure to make timely and appropriate disclosure of the

compensation he was receiving for making promotional communications with respect to ICOs-1

through 7, as well as his intentional or reckless misstatements about the nature of his involvement

with certain issuers of such securities, the reasons he was promoting certain such securities, and the

nature of his own investments into such securities, violated Sections 17(a)(1) and (a)(3) of the

Securities Act as material misstatements and omissions that facilitated McAfee’s scheme to deceive

investors about his compensation for promoting the digital asset securities offered and sold with

respect to ICOs-1 through 7, and/or to fraudulently induce investors to purchase the digital asset

securities being offered in ICOs-1 through 7. McAfee also violated Section 17(a)(3) of the Securities

Act by failing to use the degree of care in this conduct that a reasonably careful person would use

under like circumstances. With respect to the digital asset securities Token-1 and Token-2, McAfee

further violated Sections 17(a)(1) and (a)(3) of the Securities Act by engaging others to make public

statements about such securities designed to facilitate McAfee’s and others’ sales into the market of

such securities at higher prices, and by himself making such sales into the market. McAfee also

violated Section 17(a)(3) of the Securities Act by failing to use the degree of care in this conduct that

a reasonably careful person would use under like circumstances. With respect to the digital asset

security Token-8, McAfee further violated Sections 17(a)(1) and (a)(3) of the Securities Act by

knowingly or recklessly purchasing, or directing others to purchase, such security for his own

account prior to recommending or touting that very security to others, while not disclosing the full

details of his ownership of Token-8 and his plans to sell it, and selling Token-8 following the tout’s



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dissemination and into the share price and trading volume increases triggered by the tout. McAfee

also violated Section 17(a)(3) of the Securities Act by failing to use the degree of care in this conduct

that a reasonably careful person would use under like circumstances.

        203.    Watson, pursuant to a tacit or explicit agreement with McAfee, violated Sections

17(a)(1) and (a)(3) of the Securities Act by, knowingly or recklessly, among other things, directly or

indirectly, with scienter: taking affirmative steps to conceal, and/or deceive investors respecting,

McAfee’s receipt of compensation for McAfee’s promotional communications regarding the digital

asset securities offered and sold in ICOs-1 and 3 through 7; directing certain issuers of the digital

assets securities offered and sold in ICOs-1 and 3 through 7 to mislead the public about his

involvement with such issuers; directing others to issue public statements intended to create the false

appearance of interest in certain such securities; identifying potential digital asset securities that

could become a part of the ICO promotional scheme; and communicating with and directing the

issuers of the digital asset securities offered and sold in ICOs-1 and 3 through 7, respecting such

scheme. Watson also violated Section 17(a)(3) of the Securities Act by failing to use the degree of

care in this conduct that a reasonably careful person would use under like circumstances. Watson

also violated Section 17(a)(3) of the Securities Act by failing to use the degree of care in this conduct

that a reasonably careful person would use under like circumstances. With respect to the digital asset

security Token-8, Watson further violated Sections 17(a)(1) and (a)(3) of the Securities Act by

knowingly or recklessly identifying such security for McAfee’s account prior to taking steps to

procure the touting of that very security to others, while not disclosing the full details of McAfee’s

ownership of Token-8 and his plans to sell it, and taking steps to procure McAfee selling Token-8

following the tout’s dissemination and into the share price and trading volume increases triggered by

the tout. Watson also violated Section 17(a)(3) of the Securities Act by failing to use the degree of

care in this conduct that a reasonably careful person would use under like circumstances.



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        204.    By reason of the foregoing, Defendants McAfee and Watson, directly or indirectly,

singly or in concert, have violated and, unless enjoined, will again violate Securities Act Section

17(a)(1) and (3) [15 U.S.C. § 77q(a)(1) and (3)].

                               THIRD CLAIM FOR RELIEF
    Violations Section 10(b) of the Exchange Act and Rules 10b-5(a) and (c) Thereunder
                                (Against McAfee and Watson)

        205.    The Commission realleges and incorporates by reference here the allegations in

paragraphs 1 through 195.

        206.    By engaging in the acts and conduct described in this Complaint, Defendants

McAfee and Watson, directly or indirectly, singly or in concert, in connection with the purchase or

sale of securities, the digital asset securities Tokens-1 through 8, and by the use of means or

instrumentalities of interstate commerce, or the mails, or the facilities of a national securities

exchange, knowingly or recklessly (1) employed one or more devices, schemes, or artifices to

defraud, and/or (2) engaged in one or more acts, practices, or courses of business which operated or

would operate as a fraud or deceit upon other persons.

        207.    McAfee (acting individually and/or through his agents) violated Section 10b-5 of the

Exchange Act, and Rules 10b-5(a) and (c) thereunder, by, among other things, directly or indirectly:

taking affirmative steps to conceal, and/or deceive investors respecting, his receipt of compensation

for his promotional communications regarding the digital asset securities offered and sold in ICOs-1

through 7; and directing certain issuers of the digital assets securities offered and sold in ICOs-1

through 7 to mislead, and himself misleading, the public about his involvement with such issuers.

McAfee’s intentional or reckless failure to make timely and appropriate disclosure of the

compensation he was receiving for making promotional communications with respect to ICOs-1

through 7, as well as his intentional or reckless misstatements about the nature of his involvement

with certain issuers of such securities, the reasons he was promoting certain such securities, and the



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nature of his own investments into such securities, violated Section 10b-5 of the Exchange Act, and

Rules 10b-5(a) and (c) thereunder, as material misstatements and omissions that facilitated McAfee’s

scheme to deceive investors about his compensation for promoting the digital asset securities

offered and sold with respect to ICOs-1 through 7, and/or to fraudulently induce investors to

purchase the digital asset securities being offered in ICOs-1 through 7. With respect to the digital

asset securities Token-1 and Token-2, McAfee further violated Section 10b-5 of the Exchange Act,

and Rules 10b-5(a) and (c) thereunder, by knowingly or recklessly engaging others to make public

statements about such securities designed to facilitate McAfee’s and others’ sales into the market of

such securities at higher prices, and by himself making such sales into the market. With respect to

the digital asset security Token-8, McAfee further violated Section 10b-5 of the Exchange Act, and

Rules 10b-5(a) and (c) thereunder, by knowingly or recklessly purchasing, or directing others to

purchase, such security for his own account prior to recommending or touting that very security to

others, while not disclosing the full details of his ownership of Token-8 and his plans to sell it, and

selling Token-8 following the tout’s dissemination and into the share price and trading volume

increases triggered by the tout.

        208.    Watson, pursuant to a tacit or illicit agreement with McAfee, violated Section 10b-5

of the Exchange Act, and Rules 10b-5(a) and (c) thereunder by, among other things, directly or

indirectly, with scienter: taking affirmative steps to conceal, and/or deceive investors respecting,

McAfee’s receipt of compensation for McAfee’s promotional communications regarding the digital

asset securities offered and sold in ICOs-1 and 3 through 7; directing certain issuers of the digital

assets securities offered and sold in ICOs-1 and 3 through 7 to mislead the public about his

involvement with such issuers; directing others to issue public statements intended to create the false

appearance of interest in certain such securities; identifying potential digital asset securities, and the

issuers of such securities, that could become a part of the ICO promotional scheme; and



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communicating with and directing the issuers of the digital asset securities offered and sold in ICOs-

1 and 3 through 7, respecting such scheme. With respect to the digital asset security Token-8,

Watson further violated Section 10b-5 of the Exchange Act, and Rules 10b-5(a) and (c) thereunder

by knowingly or recklessly identifying then purchasing such security for McAfee’s account prior to

taking steps to procure the touting of that very security to others, while not disclosing the full details

of McAfee’s ownership of Token-8 and his plans to sell it, and taking steps to procure McAfee

selling Token-8 following the tout’s dissemination and into the share price and trading volume

increases triggered by the tout.

        209.    By reason of the foregoing, McAfee and Watson, directly or indirectly, singly or in

concert, has violated and, unless enjoined, will again violate Exchange Act Section 10(b) [15 U.S.C.

§ 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5(a) and (c)].

                                FOURTH CLAIM FOR RELIEF
                        Violations of Section 17(a)(2) of the Securities Act
                                        (Against McAfee)

        210.    The Commission realleges and incorporates by reference here the allegations in

paragraphs 1 through 194.

        211.    McAfee, directly or indirectly, singly or in concert, in the offer or sale of securities,

the digital asset securities Tokens-1 through 8, and by the use of the means or instruments of

transportation or communication in interstate commerce or the mails, knowingly, recklessly, or

negligently obtained money or property by means of one or more untrue statements of a material

fact or omissions of a material fact necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

        212.    McAfee violated Section 17(a)(2) of the Securities Act by, among other things,

knowingly, recklessly, or negligently making material misstatements, in public fora such as Twitter

and others, regarding the reasons and sources for his promotions of certain ICOs (including that he



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had “scoured” or “sift[ed]” through other tokens to recommend certain ICOs), his supposed

involvement with the issuers of such ICOs (including that he was a “friend” of or “adviser” to the

issuers of certain ICOs), his investments in the digital assets securities being offered and sold in such

ICOs (including that he had invested in certain of the ICOs), and the amount and extent of his

compensation the issuers of such ICOs had paid him to promote such ICOs (including that he was

not being paid to promote the ICOs), and omitted to disclose material information regarding the

amount and extent of compensation the issuers of the ICOs for Tokens-1 through 7 had paid him in

exchange for promotional materials. With respect to the digital asset security Token-8, McAfee

further violated Section 17(a)(2) of the Securities Act by, among other things, knowingly or

recklessly making material misstatements and omissions, in public fora such as Twitter and others,

regarding his holdings of Token-8 and his intent to sell his holdings of Token-8 following the tokens

price appreciation he expected to be caused by his promotion of the token.

        213.    By reason of the foregoing, McAfee, directly or indirectly, singly or in concert,

violated and, unless enjoined, will again violate Securities Act Section 17(a)(2) [15 U.S.C. § 77q(a)(2)].

                                FIFTH CLAIM FOR RELIEF
        Violations of Section 10(b) of the Exchange Act and Rule 10b-5(b) Thereunder
                                        (Against McAfee)

        214.    The Commission realleges and incorporates by reference here the allegations in

paragraphs 1 through 194.

        215.    McAfee, directly or indirectly, singly or in concert, in connection with the purchase

or sale of securities, the digital asset securities Tokens-1 through 8, and by the use of means or

instrumentalities of interstate commerce, or the mails, or the facilities of a national securities

exchange, knowingly or recklessly made one or more untrue statements of a material fact or omitted

to state one or more material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.



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        216.    McAfee violated Section 10(b) of the Exchange Act, and Rule 10b-5(b) thereunder

by, among other things, knowingly or recklessly making material misstatements and omissions, in

public fora such as Twitter and others, regarding the reasons and sources for his promotions of

certain ICOs (including that he had “scoured” or “sift[ed]” through other tokens to recommend

certain ICOs), his supposed involvement with the issuers of such ICOs (including that he was a

“friend” of or “adviser” to the issuers of certain ICOs), his investments in the digital assets securities

being offered and sold in such ICOs (including that he had invested in certain of the ICOs), and the

amount and extent of his compensation the issuers of such ICOs had paid him to promote such

ICOs (including that he was not being paid to promote the ICOs), and omitted to disclose material

information regarding the amount and extent of compensation the issuers of the ICOs for Tokens-1

through 7 had paid him in exchange for promotional materials. With respect to the digital asset

security Token-8, McAfee further violated Section 10(b) of the Exchange Act, and Rule 10b-5(b)

thereunder by, among other things, knowingly or recklessly making material misstatements and

omissions, in public fora such as Twitter and others, regarding his holdings of Token-8 and his

intent to sell his holdings of Token-8 following the tokens price appreciation he expected to be

caused by his promotion of the token.

        217.    By reason of the foregoing, McAfee, directly or indirectly, singly or in concert, have

violated and, unless enjoined, will again violate Exchange Act Section 10(b) [15 U.S.C. § 78j(b)] and

Rule 10b-5(b) thereunder [17 C.F.R. § 240.10b-5(b)].

                               SIXTH CLAIM FOR RELIEF
                 Aiding and Abetting Violations of Securities Act Section 17(a)
                                      (Against Watson)

        218.    The Commission realleges and incorporates by reference here the allegations in

paragraphs 1 through 195.




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        219.     By engaging in the acts and conduct described in this Complaint, Defendant Watson,

directly or indirectly, provided knowing or reckless and substantial assistance to McAfee, who,

directly or indirectly, singly or in concert with others, in the offer or sale of securities, the digital

asset securities Tokens-1 through 8, used the means or instruments of transportation or

communication in interstate commerce or used the mails to: (a) with scienter employed devices

schemes, and artifices to defraud; or (b) knowingly, recklessly or negligently engaged in transactions,

practices, or courses of business which operated or would operate as a fraud or deceit upon

purchasers of such securities; and who, directly or indirectly, acting singly or in concert with others,

in the offer or sale of securities, the digital asset securities Tokens-1 through 8, knowingly, recklessly,

or negligently obtained money or property by means of one or more untrue statements of a material

fact or omissions of a material fact necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

        220.     Watson knowingly or recklessly provided substantial assistance to McAfee’s

violations of Section 17(a) of the Securities Act, as alleged in the Second and Fourth Claims for

Relief above, by, among other things, helping conceal from and/or deceive investors respecting

McAfee’s receipt of compensation for McAfee’s promotional communications regarding the digital

asset securities offered and sold in ICOs-1 and 3 through 7; directing certain issuers of the digital

assets securities offered and sold in ICOs-1 and 3 through 7 to mislead the public about his

involvement with such issuers; directing others to issue public statements intended to create the false

appearance of interest in certain such securities; identifying potential digital asset securities that

could become a part of the ICO promotional scheme; communicating with and directing the issuers

of the digital asset securities offered and sold in ICOs-1 and 3 through 7, respecting such scheme;

engaging others to make public statements about Token-8 in order to facilitate McAfee’s and others’

sales into the market of such securities at higher prices; taking steps to procure the touting of that



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very security to others, while not disclosing the full details of McAfee’s ownership of Token-8 and

his plans to sell it; and taking steps to procure McAfee selling Token-8 following the tout’s

dissemination and into the share price and trading volume increases triggered by the tout.

        221.    By reason of the foregoing, Watson is liable pursuant to Section 15(b) [15 U.S.C.

§ 77o(b)] of the Securities Act for aiding and abetting McAfee’s violations of Section 17(a) of the

Securities [15 U.S.C. § 77q(a)] and, unless enjoined, Watson will again aid and abet violations of

these provisions.

                             SEVENTH CLAIM FOR RELIEF
                 Aiding and Abetting Violations of Securities Act Section 17(b)
                                      (Against Watson)

        222.    The Commission realleges and incorporates by reference here the allegations in

paragraphs 1 through 195.

        223.    By engaging in the acts and conduct described in this Complaint, Defendant Watson,

directly or indirectly, provided knowing and substantial assistance to McAfee, who, directly or

indirectly, made use of the means and instruments of transportation or communication in interstate

commerce or of the mails to publish, give publicity to, or circulate a notice, circular, advertisement,

newspaper, article, letter, investment service, or communication which, though not purporting to

offer securities (the digital asset securities Tokens-1 and 3 through 7) for sale, describes such

securities for a consideration received or to be received, directly or indirectly, from an issuer,

underwriter, or dealer, without fully disclosing the receipt, whether past or prospective, of such

consideration and the amount thereof.

        224.    Watson knowingly or recklessly provided substantial assistance to McAfee’s

violations of Section 17(b) of the Securities Act, as alleged in the First Claim for Relief above, by,

among other things, helping conceal from and/or deceive investors respecting McAfee’s receipt of

compensation for McAfee’s promotional communications regarding the digital asset securities



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offered and sold in ICOs-1, and 3 through 7; directing certain issuers of the digital assets securities

offered and sold in ICOs-1, and 3 through 7 to mislead the public about his involvement with such

issuers; directing others to issue public statements intended to create the false appearance of interest

in certain such securities; identifying potential digital asset securities, and the issuers of such

securities, that could become a part of the ICO promotional scheme; and communicating with and

directing the issuers of the digital asset securities offered and sold in ICOs-1, and 3 through 7,

respecting such scheme.

        225.    By reason of the foregoing, Watson is liable pursuant to Section 15(b) of the

Securities Act [15 U.S.C. § 77o(b)] for aiding and abetting McAfee’s violations of Section 17(b) of

the Securities Act [15 U.S.C. § 77q(b)] and, unless enjoined, Watson will again aid and abet violations

of these provisions.

                             EIGHTH CLAIM FOR RELIEF
        Aiding and Abetting Violations of Exchange Act Section 10(b) and Rule 10b-5
                                     (Against Watson)

        226.    The Commission realleges and incorporates by reference here the allegations in

paragraphs 1 through 195.

        227.    By engaging in the acts and conduct described in this Complaint, Defendant Watson,

directly or indirectly, provided knowing and substantial assistance to McAfee, who, directly or

indirectly, singly or in concert, in connection with the purchase or sale of securities, the digital asset

securities Tokens-1 and 3 through 7, and by the use of means or instrumentalities of interstate

commerce, or the mails, or the facilities of a national securities exchange, (1) employed one or more

devices, schemes, or artifices to defraud; (2) knowingly or recklessly made one or more untrue

statements of a material fact or omitted to state one or more material facts necessary in order to

make the statements made, in light of the circumstances under which they were made, not




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misleading; and/or (3) engaged in one or more acts, practices, or courses of business which operated

or would operate as a fraud or deceit upon other persons.

        228.    Watson knowingly or recklessly provided substantial assistance to McAfee with

respect to its violations of Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 [17

C.F.R. § 240.10b-5] thereunder, as alleged in the Third and Fifth Claims for Relief above, by, among

other things, knowingly or recklessly helping conceal from and/or deceive investors respecting

McAfee’s receipt of compensation for McAfee’s promotional communications regarding the digital

asset securities offered and sold in ICOs-1 and 3 through 7; directing certain issuers of the digital

assets securities offered and sold in ICOs-1 and 3 through 7 to mislead the public about his

involvement with such issuers; directing others to issue public statements intended to create the false

appearance of interest in certain such securities; identifying potential digital asset securities, and the

issuers of such securities, that could become a part of the ICO promotional scheme; and

communicating with and directing the issuers of the digital asset securities offered and sold in ICOs-

1 and 3 through 7, respecting such scheme.

        229.    By reason of the foregoing, Watson is liable pursuant to Section 20(e) of the

Exchange Act [15 U.S.C. § 78t(e)] for aiding and abetting McAfee’s violations of Section 10(b)of the

Exchange [15 U.S.C. § 78j(b)] and Rule 10b-5(b) [17 C.F.R. § 240.10b-5(b)] thereunder and, unless

enjoined, Watson will again aid and abet violations of these provisions.

                                       PRAYER FOR RELIEF

        WHEREFORE, the Commission respectfully requests that the Court enter a Final

Judgment:

                                                     I.

        Permanently enjoining Defendants and their agents, servants, employees and attorneys and

all persons in active concert or participation with any of them from violating, directly or indirectly,



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Securities Act Sections 17(a) and 17(b) [15 U.S.C. § 77q(a)-(b)] and Exchange Act Section 10(b) [15

U.S.C. § 78j(b)], and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5];

                                                  II.

        Ordering Defendants to disgorge all ill-gotten gains they received directly or indirectly, with

pre-judgment interest thereon, as a result of the alleged violations under Exchange Act Section

21(d)(5) [15 U.S.C. § 78u(d)(5)];

                                                  III.

        Ordering Defendants to pay civil monetary penalties under Securities Act Section 20(d)

[15 U.S.C. § 77t(d)] and Exchange Act Section 21(d)(3) [15 U.S.C. § 78u(d)(3)];

                                                  IV.

        Permanently prohibiting McAfee from serving as an officer or director of any company that

has a class of securities registered under Exchange Act Section 12 [15 U.S.C. § 78l] or that is

required to file reports under Exchange Act Section 15(d) [15 U.S.C. § 78o(d)], pursuant to

Securities Act Section 20(e) [15 U.S.C. § 77t(e)] and Exchange Act Section 21(d)(2) [15 U.S.C.

§ 78u(d)(2)];

                                                   V.

        Prohibiting Defendants from participating, directly or indirectly, in the issuance, purchase,

offer, or sale of any digital asset security;

                                                  VI.

        A trial by jury pursuant to Rule 38 of the Federal Rules of Civil Procedure; and




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                                               VII.

       Granting any other and further relief that may be appropriate and necessary for the benefit

of investors.


Dated: New York, New York
       October 5, 2020
                                      ____________________________________
                                      RICHARD BEST
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                                      John O. Enright
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